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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG “DEEPWATER                              MDL No. 2179
HORIZON” IN THE GULF OF MEXICO, ON APRIL
20, 2010
                                                                        SECTION: J
IN RE THE COMPLAINT AND PETITION OF
TRITON ASSET LEASING GmbH, ET AL., IN A                                 JUDGE BARBIER
CAUSE OF EXONERATION FROM OR
LIMITATION OF LIABILITY                                                 MAGISTRATE SHUSHAN

This Document applies to:
C.A. No. 10-2771


                                              ORDER

       CONSIDERING THE EX PARTE MOTION of Transocean Offshore Deepwater Drilling

Inc., Transocean Deepwater Inc., Transocean Holdings LLC and Triton Asset Leasing GmbH

(collectively “Transocean”) to File Under Seal its Unredacted “Transocean’s First Amended

Answer to BP Parties’ Counter-Complaint, Cross-Complaint, Third Party Complaint, and Claim

in Limitation” and Related Attachments,

       IT IS HEREBY ORDERED that the motion be and hereby is Granted, the parts redacted

from Transocean’s publicly filed First Amended Answer to BP Parties’ Counter-Complaint,

Cross-Complaint, Third Party Complaint, and Claim in Limitation and Exhibits 6, 7, 8, 9, 10, 11,

13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 37, 38, 39,

40, 42, 43, 44, 49, 51, 52, 53, 56, 57, 59, 61, 62, 64, 66, 67, 68, 70, 71, 73, 77, 78, 79, 81, 82, 84,

87, 90, 91, 92, and 93 shall be filed under seal.

       New Orleans, Louisiana, this ___ day of ______________, 2013.



                                                       _______________________________
                                                                   JUDGE
